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IN THE UNITED sTATEs DISTRlCT coURT °“ ‘“ D'C'

FOR THE WESTERN DISTRICT OF TENNESSE ,
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W-D- OF TN, MEMPH¢S

UNITED STATES OF AMERICA )

Plaintiff, §
v. ;Cr. No. 03-20400-BV
LOGAN YOUNG, l

Defendant. §

ORDER RELEASING DEFENDANT PENDING APPEAL

This cause came to be heard on Monday, June 13, 2005, following Defendant filing his
“Motion for Release Pending Appeal” in open court.

IT APPEARING TO THE COURT, by clear and convincing evidence that Defendant,
Logan Young is not likely to flee or pose a danger to the safety of any other person or the
community if released pending appeal.

IT FURTHER APPEARING TO THE COURT, that Defendant, Logan Young’s
appeal is not for the purpose of delay; and raises a substantial question of law that, if successful,
will likely result in a reversal or a sentence that does not include a term of imprisonment

IT FURTHER APPEARING TO THE COURT, that Defendant meets all
requirements for release pending appeal as established in 18 U.S.C. §3143(b); and his motion
should be granted.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED, that in accordance

With 18 U.S.C. §3143(b), Defenclant, Logan Young, shall be released pending appeal.

Thie document entered on the docket sheet in compliance
with eula 55 and!or 32(b) FHCrP on ° ' 5 `>ZJ

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IT IS FURTHER ORDERED that Defenclant Logan Young shall, while on appeal,
remain subject to the same conditions of pre-trial release, to which he has been subjected during
the pendency of his case.

IT rs so 0RDERE1), this Z+Q`day ofnme, 2005.

4A.a

IEL BREEN
States District Judge\

F:\CLIENTS\Young, Logan C.B., .lr. (01069)\NCAA lnvestigation - Um`versity of Alabama (30805)\Pleadings\0rdcr Releasing Defendant
Pending Appeal.doc

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 203 in
case 2:03-CR-20400 was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

